       Case 3:05-cr-30132-DRH                     Document 76          Filed 12/18/08            Page 1 of 1           Page ID #191
OAO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                     UNITED STATES DISTRICT COURT
                                                                    for the
                                                         Southern District of Illinois

                    United States of America                          )
                               v.                                     )
                                                                      )   Case No: 05-CR-30132-DRH
                       NATHANIEL NEAL
                                                                      )   USM No: 07122-025
Date of Previous Judgment: 05/19/2006                                 )   Phillip J. Kavanaugh
(Use Date of Last Amended Judgment if Applicable)                     )   Defendant’s Attorney

                   Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of X the defendant ’ the Director of the Bureau of Prisons ’ the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       ’ DENIED. X GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 60         months is reduced to 49 months                  .
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:    17              Amended Offense Level:                                               15
Criminal History Category: VI              Criminal History Category:                                           VI
Previous Guideline Range: 51  to 63 months Amended Guideline Range:                                             41        to 51   months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
X The reduced sentence is within the amended guideline range.
’ The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
’ Other (explain):




III. ADDITIONAL COMMENTS
This Order is entered as the result of U.S.S.G. Amendment 706 as amended by 711, relating to crack cocaine. If this
sentence is less than the amount of time the defendant has already served, the sentence is reduced to a “time served”
sentence, understanding that it is the intent of the Court that this order not affect the length of supervised release ordered
previously.
Except as provided above, all provisions of the judgment dated 05/19/2006                    shall remain in effect.
IT IS SO ORDERED.

Order Date:         December 18, 2008                                                            /s/   DavidRHer|do|
                                                                                                   Judge’s signature


Effective Date: December 31, 2008                                         David R. Herndon - United States District Chief Judge
                     (if different from order date)                                              Printed name and title
